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 2
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 3   cb@witkowlaw.com
 4   witkow | baskin
     21031 Ventura Boulevard, Suite 700
 5   Woodland Hills, California 91364
 6   Tel: 818.296.9508
     Fax: 818.296.9510
 7   Attorneys for Defendant LIN’S WAHA INTERNATIONAL CORP.
 8
                        UNITED STATES DISTRICT COURT
 9
                       CENTRAL DISTRICT OF CALIFORNIA
10

11    OCM GROUP USA INC.,                    Case No. 2:19-cv-08917 SB (KSx)
12
                              Plaintiff,DECLARATION OF BRANDON J.
13                                      WITKOW IN SUPPORT OF
           vs.                          DEFENDANT LIN’S WAHA
14
                                        INTERNATIONAL CORP.’S
15    LIN’S WAHA INTERNATIONAL MOTION FOR ATTORNEYS’
      CORP, a New York corporation; and FEES
16
      DOES 1-10.
17                                      Hearing:
18                            Defendant.
                                             Date: July 23, 2021
19                                           Time: 8:30 a.m.
20                                           Ctrm: 6C

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                           DECLARATION OF BRANDON J. WITKOW
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 1                    DECLARATION OF BRANDON J. WITKOW
 2         1.     I am an attorney at witkow | baskin duly admitted to practice in all of the
 3   courts of the State of California and I am counsel to Defendant Lin’s Waha
 4   International Corp. (“Defendant”) in the above-captioned matter. I provide this
 5   declaration in support of Defendant’s Motion for Attorneys’ Fees Pursuant to 15
 6   U.S.C. § 1117(a) (the “Motion”).        Based on my responsibilities and my own
 7   involvement in the facts and circumstances described below, I have personal
 8   knowledge of the facts set forth herein which I know to be true, except as to the
 9   matters that are stated on my information and/or belief, and as to those matters, I
10   believe them to be true.
11         2.     On May 27, 2021, pursuant to L.R. 7-3, I sent an email to Plaintiff OCM
12   Group USA Inc.’s counsel, Jeff Lee, by electronic mail, requesting that the parties’
13   meet and confer as to the Motion. Mr. Lee responded on June 1, 2021, and counsel
14   spoke on June 2, 2021, but was unable to reach a resolution, thereby necessitating the
15   Motion.
16         3.     During the course of the litigation and before moving for summary
17   judgment, the Defendant efficiently defended this matter by bypassing unnecessary
18   motions to dismiss and depositions (which would have taken place in China), and
19   focusing on propounding and responding to written discovery, producing and
20   obtaining the production of documents, and avoiding discovery disputes by holding
21   multiple discovery meet and confers with opposing counsel. We also avoided hiring
22   any experts to analyze Plaintiff’s claimed damages of $82,666.59 [Docket # 30-2, at
23   Exhibit 5 (bates numbered OCM 001 entitled “OCM Summary of Profit/Loss”)]. We
24   also participated in two mediations with this Court’s ADR Panel Mediator, Alan
25   Kindred – the first on April 20, 2020, and the second immediately preceding the filing
26   of the motion for summary judgment on January 27, 2021.              With the second
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                                DECLARATION OF BRANDON J. WITKOW
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 1   mediation unsuccessful, Defendant filed its motion for summary judgment [Docket
 2   #30] on January 28, 2021.
 3         4.      I am an experienced intellectual property litigation partner at witkow |
 4   baskin. I attended Emory University School of Law and was admitted to the State
 5   Bar of California in 2000.      Prior to forming witkow | baskin in 2015, I was an
 6   intellectual property litigation partner at Locke Lord, LLP for nearly ten years, and
 7   prior to that an associate at Manatt Phelps & Phillips, LLP, which are both one of the
 8   largest law firms in the country. I am aware that typically, intellectual property
 9   attorneys at law firms in Los Angeles charge between $300 up to more than $1,000
10   per hour. Here Defendant’s hourly rate for my services was $450.00.
11         5.     The Complaint in this matter was filed on October 17, 2019. Beginning
12   as early as February 2020, in the discussions leading to the preparation and filing of
13   the Rule 26(a) Joint Report, Defendant took the position that “Plaintiff’s infringement
14   claim is deficient in that the first-sale doctrine precludes any recovery for Plaintiff on
15   any goods purchased by Defendant from authorized distributors in China.” [Docket
16   #15, at page 3]. Thereafter, in March 2020, Defendant provided Plaintiff with
17   evidence demonstrating that Defendant was purchasing genuine products in China as
18   early as March 2020, a fact which and Plaintiff acknowledged. Attached as Exhibit
19   1 to my declaration is a true and correct copy of several emails sent between myself
20   and Mr. Lee on March 6, 2020. Despite conceding that Defendant was selling
21   “legitimate” products, Plaintiff continued to pursue this action for another year,
22   asserting the baseless argument – without any legal or factual support – that
23   Defendant was nonetheless precluded from selling legitimate products in the United
24   States. As this Court acknowledged in the Order Granting Summary Judgment, this
25   position is and was objectively unreasonable.
26         6.     Following service of the Complaint, between December 19, 2019 and
27   March 5, 2021 [the date of the hearing on the motion for summary judgment], I spent
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                              DECLARATION OF BRANDON J. WITKOW
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 1   a total of 148.6 hours defending the case, equaling billings of $66,870.00. Attached
 2   as Exhibit 2 to my declaration is a true and correct copy of a Matter Summary Report
 3   that contains the total hours billed by me.
 4         7.     Attached hereto as Exhibit 3 is a true and correct copy of the billing
 5   records of witkow | baskin in this matter, with minimal redactions to remove time
 6   entries related to another unrelated matter I handled on behalf of Defendant, as well
 7   as privileged information.
 8         I declare under penalty of perjury under the laws of the United States of
 9   America that the foregoing is true and correct and that this was executed on June 1,
10   2021, at Los Angeles, California.
11
                                     /s/ Brandon J. Witkow
12
                                       Brandon J. Witkow
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                             DECLARATION OF BRANDON J. WITKOW
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   From:           Jeff Lee
   To:             Brandon Witkow; gaston kroub
   Cc:             dhsu@ltpacificlaw.com
   Subject:        OCM v. Lin"s Waha; initial disclosure
   Date:           Friday, March 6, 2020 10:22:00 AM


  Brandon, Gaston,
  Again, to facilitate early settlement, we need to have discoverable information.
  Especially your client is disputing my client’s standing (claiming it purchased goods from authorized
  distributors in China, as stated in the filed Joint Report).
  My client is surprised at this standing issue
  Please include such “authorized distributors” information in the Initial Disclosure so that we can
  quickly iron out some bumps and to reach early settlement. (As I told you in the court house, my
  client may have a beef with the licensor if your client’s facts are born out.)
  Best.
  Jeff
  LT Pacific Law Group LLP
  17800 Castleton Street, #560
  City of Industry, CA 91748
  (626) 810-7200 phone
  (626) 810-7300 fax
  LTPacificLaw.com
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   From:            Jeff Lee
   To:              "Gaston Kroub"; Brandon Witkow
   Cc:              dhsu@ltpacificlaw.com
   Subject:         RE: OCM v. Lin"s Waha; initial disclosure
   Date:            Friday, March 6, 2020 10:42:24 AM
   Attachments:     image002.jpg
                    image003.jpg


   Gaston,
   Got it.
   I see that there is a phone number (the address is unclear).
   I will ask my client to call the number and check it out.
   I will get back to you promptly.
   Best.
   Jeff
   From: Gaston Kroub [mailto:gkroub@kskiplaw.com]
   Sent: Friday, March 6, 2020 10:35 AM
   To: Brandon Witkow
   Cc: Jeff Lee; dhsu@ltpacificlaw.com
   Subject: Re: OCM v. Lin's Waha; initial disclosure
   image002 (2).jpg




                                                                Jeff - please see the attached example of a
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   purchase order from China for the goods. You can share with your client for purposes of
   settlement. As you can see, there is no dispute that Lin's Waha was buying authentic products
   in China for resale in America. Your client's issue should be with its alleged licensor, not with
   Lin's Waha about the licensor's practices. We hope you can show them that.
   Gaston Kroub
   Kroub, Silbersher & Kolmykov PLLC
   www.kskiplaw.com
   1.917.702.9135 - direct (call or text)
   1.212.323.7442 - office voicemail
   gkroub@kskiplaw.com
   On Fri, Mar 6, 2020 at 1:25 PM Brandon Witkow <bw@witkowlaw.com> wrote:

     Jeff:
     I misspoke at the courthouse. We purchased the items at issue from a reseller in
     China- so we are not a “licensee” per se, and instead our purchase and re-sale of
     the goods was lawful under the first sale doctrine, as mentioned in our portion of
     the joint report. I believe Gaston is working on getting you exemplars of our
     purchase orders from the China seller.
     -Brandon
     Brandon J. Witkow
     _____________________________________


     21031 Ventura Boulevard I Suite 700
     Woodland Hills I California I 91364
     818.296.9508 office I 818.296.9510 facsimile
     bw@witkowlaw.com I witkowlaw.com

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     received this communication in error, please notify us immediately by return e-mail and delete the original message from
     your e-mail system. Thank you.
     From: Jeff Lee <jflee@ltpacificlaw.com>
     Sent: Friday, March 6, 2020 10:22 AM
     To: Brandon Witkow <bw@witkowlaw.com>; gaston kroub <gkroub@kskiplaw.com>
     Cc: dhsu@ltpacificlaw.com
     Subject: OCM v. Lin's Waha; initial disclosure
     Brandon, Gaston,
     Again, to facilitate early settlement, we need to have discoverable information.
     Especially your client is disputing my client’s standing (claiming it purchased goods from
     authorized distributors in China, as stated in the filed Joint Report).
     My client is surprised at this standing issue
     Please include such “authorized distributors” information in the Initial Disclosure so that we
     can quickly iron out some bumps and to reach early settlement. (As I told you in the court
     house, my client may have a beef with the licensor if your client’s facts are born out.)
     Best.
     Jeff
     LT Pacific Law Group LLP
     17800 Castleton Street, #560
     City of Industry, CA 91748
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     (626) 810-7300 fax
     LTPacificLaw.com
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